                                                                          Case 2:16-cv-00238-GMN-NJK Document 5 Filed 02/09/16 Page 1 of 2



                                                                      1   J. RANDALL JONES, ESQ.
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                                                                      2
                                                                          MATTHEW S. CARTER, ESQ.
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                                                                          MONA KAVEH, ESQ.
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                                                                          Attorneys for Plaintiff, Nevada
                                                                      9   Restaurant Services, Inc. dba Dotty’s
                                                                     10
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                                                                     11                             UNITED STATES DISTRICT COURT
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                                  3800 Howard Hughes Parkway




                                                                     12                                   DISTRICT OF NEVADA
                                    Las Vegas, Nevada 89169
                                       kjc@kempjones.com
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                                                                     14   NEVADA RESTAURANT SERVICES,                     Case No.:   2:16-cv-00238-GMN-NJK
                                                                          INC., dba DOTTY’S,
                                                                     15

                                                                     16               Plaintiff,                           CERTIFICATE OF INTERESTED
                                                                                                                           PARTIES PURSUANT TO LR 7.1-1
                                                                     17   v.
                                                                     18
                                                                          CLARK COUNTY, a Municipal
                                                                     19   Corporation; and Does I through X,
                                                                     20
                                                                                      Defendants.
                                                                     21

                                                                     22

                                                                     23          COMES NOW Plaintiff, NEVADA RESTAURANT SERVICES, INC., doing
                                                                     24   business as DOTTY’S, by and through its counsel of record, Kemp, Jones & Coulthard,
                                                                     25   LLP, and hereby certifies that there are no parties with a direct pecuniary interest in the
                                                                     26   outcome of this action other than the named Plaintiff and Defendants. This
                                                                     27   representation is made to enable judges of the Court to evaluate possible disqualification
                                                                     28


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                                                                          Case 2:16-cv-00238-GMN-NJK Document 5 Filed 02/09/16 Page 2 of 2



                                                                      1   or recusal.
                                                                      2          DATED this 9th day of February, 2016.
                                                                      3                                                 Respectfully submitted,

                                                                      4                                                 KEMP, JONES & COULTHARD, LLP
                                                                      5
                                                                                                                         /s/ Matthew S. Carter
                                                                      6                                                 J. RANDALL JONES, ESQ. (1927)
                                                                                                                        MATTHEW S. CARTER, ESQ. (9524)
                                                                      7
                                                                                                                        MONA KAVEH, ESQ. (11825)
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                                                                                                                        Las Vegas, Nevada 89169
                                                                      9                                                 Attorneys for Plaintiff Nevada Restaurant
                                                                     10                                                 Services, Inc. dba Dotty’s
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                                                                     12
                                    Las Vegas, Nevada 89169




                                                                                                         CERTIFICATE OF SERVICE
                                       kjc@kempjones.com
                                        Seventeenth Floor




                                                                     13
                                                                                 I hereby certify that on the 9th day of February, 2016, the foregoing
                                                                     14
                                                                          CERTIFICATE OF INTERESTED PARTIES PURSUANT TO LR 7.1-1 was
                                                                     15
                                                                          served via the United States District Court’s CM/ECF electronic filing system addressed
                                                                     16
                                                                          to all parties on the e-service list.
                                                                     17

                                                                     18
                                                                                                                   /s/ Pamela Montgomery
                                                                     19                                           An employee of Kemp, Jones & Coulthard, LLP
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